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                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT
                                  100 EAST FIFTH STREET, ROOM 540
   Kelly L. Stephens             POTTER STEWART U.S. COURTHOUSE              Tel. (513) 564-7000
         Clerk                       CINCINNATI, OHIO 45202-3988            www.ca6.uscourts.gov




                                                  Filed: August 19, 2024

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                       Re: Case No. 23-1842, James Stanley v. Macomb County, MI
                           Originating Case No. : 2:19-cv-11589

 Dear Counsel,

    The Court issued the enclosed opinion today in this case.

    Enclosed are the court’s unpublished opinion and judgment, entered in conformity with Rule
 36, Federal Rules of Appellate Procedure.

                                                  Sincerely yours,

                                                  s/Cathryn Lovely
                                                  Opinions Deputy

 cc: Ms. Kinikia D. Essix

 Enclosures

 Mandate to issue
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                         NOT RECOMMENDED FOR PUBLICATION
                                File Name: 24a0359n.06

                                           No. 23-1842

                           UNITED STATES COURT OF APPEALS                              FILED
                                FOR THE SIXTH CIRCUIT                                Aug 19, 2024
                                                                             .(//</67(3+(16 Clerk
                                                         )
  JAMES STANLEY,
                                                         )
         Plaintiff-Appellee,                             )
                                                                ON APPEAL FROM THE
                                                         )
                 v.                                             UNITED STATES DISTRICT
                                                         )
                                                                COURT FOR THE EASTERN
                                                         )
  MACOMB COUNTY, MICHIGAN,                                      DISTRICT OF MICHIGAN
                                                         )
         Defendant-Appellant.                            )
                                                                                      OPINION
                                                         )
                                                         )


 Before: GRIFFIN, NALBANDIAN, and BLOOMEKATZ, Circuit Judges.

        GRIFFIN, Circuit Judge.

        Plaintiff James Stanley alleges Macomb County Sherriff Anthony Wickersham instituted

 a county policy of retaliation against him for having filed an employment-discrimination lawsuit

 against Macomb County. Stanley claimed in a prior lawsuit that the County demoted him because

 he supported Wickersham’s political opponent in a prior election. After he lost in court, Stanley

 was disciplined for using excessive force against a detainee, suspended with pay, and criminally

 charged for assaulting that detainee and another. Both criminal charges resulted in acquittals.

 Stanley sued the County for unlawful retaliation and a jury found in his favor. Now the County

 appeals, arguing that Stanley failed to prove that it had a policy that violated Stanley’s

 constitutional rights. We affirm.
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                                                  I.

        In 2016, Stanley was temporarily demoted from his position as a sergeant at the Macomb

 County Jail; an arbitrator subsequently reversed that decision. One year later, Stanley sued

 Macomb County Sherriff Anthony Wickersham and the County, alleging that his demotion was

 retaliation for supporting Wickersham’s opponent in the 2012 election.

        While that lawsuit was ongoing, Stanley was involved in two videotaped incidents of use

 of force against detainees at the jail. In July 2018, Stanley injured Cody Tindall’s nose while

 helping officers place Tindall in a restraint chair. Two months later, Stanley tased Steven Howe

 for disobeying officers’ orders to lie down while officers entered Howe’s cell to place him in a

 restraint chair. The County did not take any disciplinary actions against Stanley when the incidents

 occurred.

        The district court granted summary judgment against Stanley in his retaliation lawsuit

 against the County shortly after the Howe incident. Stanley v. Macomb Cnty., 2018 WL 5840738,

 at *1 (E.D. Mich. Nov. 8, 2018). Just over one month later, Undersheriff Elizabeth Darga

 reprimanded Stanley for the Howe incident and ordered him to undergo “remedial training” with

 the Sheriff’s Department’s use-of-force expert, Sergeant Phil Abdoo. Two months after that,

 Sergeant Scott Jones discovered the Tindall video and brought it to his supervisor’s attention.

 Darga and Wickersham decided it warranted further investigation. So Darga ordered Captain

 David Kennedy to have Lieutenant Melissa Stevens review it, and Stanley was suspended with

 full pay and benefits.

        Kennedy thus ordered Stevens to further investigate both of Stanley’s uses of force for

 potential criminal charges (despite Darga’s prior disciplining of Stanley for the Howe incident);

 Kennedy did not ask Stevens to consider potential criminal charges against any other officers.


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 Stevens reviewed the videos and interviewed the officers present for the Tindall incident—each

 officer told her that Stanley did not assault Tindall and that Tindall’s injury was an accident. The

 record is unclear regarding the scope of Stevens’s review of the Howe incident.

        Nonetheless, Stevens believed Stanley assaulted both detainees, so she referred both cases

 to the Macomb County Prosecutor who filed assault charges relating to the Tindall and Howe

 incidents. When Stanley was booked into jail, the booking area was not cleared to give him

 privacy, unlike what Stanley claims was customary for other Department employees who had been

 arrested.   Both criminal charges were ultimately resolved in Stanley’s favor—Judge Jake

 Femminineo (the judge for both criminal cases) entered a directed verdict in Stanley’s favor

 regarding the Howe incident, and a jury returned a not-guilty verdict for the Tindall incident.

        At some point before the Tindall verdict, Kennedy separately asked Abdoo to review the

 Tindall video. Abdoo watched the video and read all reports on the matter before telling Kennedy

 that he thought Stanley used an appropriate amount of force. So Kennedy brought Abdoo to a

 meeting with Darga and Wickersham where Abdoo reiterated his no-excessive-force conclusion.

 According to Abdoo, Wickersham disagreed and “stated something to the effect of, ‘I talked to

 [Judge Femminineo] this morning and this charge will not be dropped.’”

        That same day, Kennedy told Abdoo not to prepare a written report about the Tindall

 incident. Those directions differed from the Department’s normal practice to require a written

 report. Abdoo testified he could not recall a single other time when he was asked to review a use

 of force, found the force appropriate, and was instructed not to prepare a written report. Similarly,

 Abdoo could not recall any other instance in which he told Wickersham that he believed a use of

 force was appropriate and Wickersham disagreed with him.




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        Stanley eventually sued Wickersham, Darga, and the County under 42 U.S.C. § 1983,

 alleging that they unconstitutionally retaliated against him for previously suing the County. The

 district court dismissed Stanley’s claims against Wickersham before trial, but the case proceeded

 to trial against Darga and the County. After Stanley finished his case in chief, Darga and the

 County moved for judgment as a matter of law under Federal Rule of Civil Procedure 50(a). The

 district court denied the motion as to the County and took Darga’s under advisement. Defendants

 then presented their case, and the jury returned a verdict in favor of Stanley against the County but

 not Darga. The County did not renew its motion for judgment as a matter of law under Rule 50(b)

 after the jury verdict. The County now appeals.

                                                   II.

        As an initial matter, the County’s failure to renew its motion for judgment as a matter of

 law would ordinarily end this case because “the precise subject matter of a party’s Rule 50(a)

 motion—namely, its entitlement to judgment as a matter of law—cannot be appealed unless that

 motion is renewed pursuant to Rule 50(b).” Unitherm Food Sys., Inc. v. Swift-Eckrich, Inc.,

 546 U.S. 394, 404 (2006). But the Rule 50(b) requirement is a nonjurisdictional, mandatory

 claims-processing rule that can be forfeited. Maxwell v. Dodd, 662 F.3d 418, 420–21 (6th Cir.

 2011). Stanley did not raise the Rule 50(b) requirement, thus forfeiting the benefits he could have

 reaped. Cf. Greer v. United States, 938 F.3d 766, 770 (6th Cir. 2019). We decline to exercise our

 discretion to excuse this forfeiture, see id., and instead resolve this case on the merits.

                                                   III.

        “We review a district court’s denial of a motion for judgment as a matter of law or a

 renewed motion for judgment as a matter of law de novo.” Noble v. Brinker Int’l, Inc., 391 F.3d

 715, 720 (6th Cir. 2004). “[J]udgment as a matter of law may be granted only if in viewing the


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 evidence in the light most favorable to the non-moving party, there is no genuine issue of material

 fact for the jury, and reasonable minds could come to but one conclusion, in favor of the moving

 party.” Id. (internal quotation marks omitted). “In making this determination, this court may not

 weigh the evidence, pass on the credibility of witnesses, or substitute our judgment for that of the

 jury.” Hubbell v. FedEx SmartPost, Inc., 933 F.3d 558, 568 (6th Cir. 2019) (internal quotation

 marks and brackets omitted).

        “[U]nder § 1983, local governments are responsible only for their own illegal acts. They

 are not vicariously liable under § 1983 for their employees’ actions.” Connick v. Thompson,

 563 U.S. 51, 60 (2011) (internal quotation marks omitted). “Instead, a municipality is liable under

 § 1983 only if the challenged conduct occurs pursuant to a municipality’s ‘official policy,’ such

 that the municipality’s promulgation or adoption of the policy can be said to have ‘cause[d]’ one

 of its employees to violate the plaintiff’s constitutional rights.” D’Ambrosio v. Marino, 747 F.3d

 378, 386 (6th Cir. 2014) (alteration in original) (quoting Monell v. Dep’t of Soc. Servs., 436 U.S.

 658, 692 (1978)). Relevant here, “[m]unicipal liability may attach for policies promulgated by the

 official vested with final policymaking authority for the municipality.” Miller v. Calhoun Cnty.,

 408 F.3d 803, 813 (6th Cir. 2005); Novak v. City of Parma, 33 F.4th 296, 309 (6th Cir. 2022).

 “Whether a given individual is such a policymaker for purposes of § 1983 liability is a question of

 state law.” Miller, 408 F.3d at 813 (internal quotation marks omitted).

        On appeal, the County argues only that Stanley failed to prove that Wickersham established

 a qualifying policy; such sufficiency-of-the-evidence appeals are rarely successful, and this case

 is no exception. At trial, Stanley argued that Wickersham had a policy to:

        get James Stanley. Get him and get him good. And squash him like a bug so that
        he never sues the department and the Sheriff again. And send the word and send
        the message so that nobody else does either.


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 This argument was consistent with plaintiff’s complaint that alleged:

        Sherriff Wickersham and Undersheriff Darga acted and ensured that it was a policy
        of the Department to take action against James Stanley, including, but not
        necessarily limited to: by directing that he be investigated and a basis for criminal
        charges be found; [and] by expressing an intention to reach out to a judge to attempt
        to ensure that the second criminal charges were not dismissed.

        Although Stanley did not prove that the County had a written or express policy, to this

 effect, he was not required to do so. See Miller, 408 F.3d at 814. Viewing the evidence in the

 light most favorable to Stanley, the circumstantial evidence adequately shows that he was treated

 differently from other Department employees.          By extension then, reasonable minds could

 conclude that the County had a policy to retaliate against—or in Stanley’s words, to “get”—him

 culminating in his criminal prosecutions.1

        Recall that Stanley supported Wickersham’s opponent in the 2012 election, which he

 believed motivated his 2016 demotion. That demotion was reversed after arbitration and prompted

 Stanley to sue the County. Shortly after that lawsuit was dismissed, Stanley was reprimanded for

 the Howe incident and eventually suspended. Upon a referral by his superiors, Stanley’s criminal

 charges came a few months later. And when Stanley was booked, he was not given the privacy

 that some of his other colleagues received when they had been arrested. Reasonable minds could

 conclude these acts specifically targeted Stanley.

        It also could determine that this sequence of events was no accident. Jones happened to

 discover the Tindall video after Stanley’s first lawsuit against the County and Wickersham was



        1
          Normally, we have treated retaliation cases like this one that rely on criminal complaints
 the same way that we treat malicious-prosecution claims, and a prosecutor’s independent
 determination of probable cause has been a strong defense. See Marcilis v. Township of Redford,
 693 F.3d 589, 604 (6th Cir. 2012); Hartman v. Thompson, 931 F.3d 471, 484 (6th Cir. 2019). But
 the County failed to raise this defense either below or on appeal, so we need not and do not consider
 it here. See Cradler v. United States, 891 F.3d 659, 665 (6th Cir. 2018).
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 dismissed. And even though Stanley had already been reprimanded for the Howe incident,

 Kennedy specifically instructed Stevens to review the Tindall and Howe videos to determine

 whether criminal charges should be brought against Stanley (and not any other officers). Despite

 the officers who were present at the Tindall incident telling Stevens that they thought Stanley used

 an appropriate amount of force in the Tindall incident, Stevens still referred both cases to the

 prosecutor’s office.

        Stanley testified that, when criminal charges are potentially involved, outside agencies

 normally handle the investigation, so the evidence adequately showed that this internal

 investigation was unusual in and of itself. Abdoo’s testimony compounded these oddities. When

 he reviewed the Howe incident, Abdoo concluded that Stanley used excessive force and prepared

 a written report saying so, consistent with his usual practice. But his review of the Tindall incident

 did not follow that usual procedure. Abdoo told Kennedy that he thought Stanley used an

 appropriate amount of force against Tindall. Kennedy then brought Abdoo to Wickersham and

 Darga to explain his conclusion. That meeting was the only time Abdoo could recall Wickersham

 disagreeing with him about whether an officer used an appropriate amount of force against a

 detainee. In that meeting, Wickersham also “stated something to the effect of, ‘I talked to [Judge

 Femminineo] this morning and this charge will not be dropped.’” And within a day of that

 meeting, Kennedy told Abdoo not to prepare a written report about the Tindall incident—a

 significant departure from his usual practice.

        Finally, the Department never informed the prosecutor on Stanley’s criminal cases about

 Abdoo’s conclusion that Stanley used appropriate force against Tindall. The prosecutor learned

 of Abdoo’s conclusion from Stanley’s criminal-defense counsel and testified that “there [was] no

 way” Stanley would have learned from the prosecutor’s office about Abdoo’s view on the Tindall


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 incident. If Abdoo had prepared a written report, however, that exculpatory evidence would have

 been available and turned over to Stanley in the usual course of his criminal case.

        This collective evidence sufficiently established a policy to punish Stanley for filing his

 lawsuit. It showed that he was treated differently from other Department employees who were

 criminally investigated and booked, and that he was specifically targeted for criminal investigation

 by his superiors. That even extended to Kennedy instructing Abdoo not to prepare a written report

 of the Tindall incident—a key change in protocol that reasonable minds could determine was taken

 specifically to avoid creating exculpatory evidence. Wickersham and Darga jointly making the

 decision to order Stevens to investigate the Tindall incident, and Abdoo’s meeting with

 Wickersham, Darga, and Kennedy connect these actions to Wickersham. That meeting also

 evidenced Wickersham treating Stanley differently from other Department employees: it was the

 only time Wickersham disagreed with Abdoo’s conclusion that a use of force was appropriate, and

 Wickersham’s alleged conversation with Judge Femminineo could be seen as attempting to ensure

 Stanley’s conviction in his case regarding the Tindall incident. Wickersham’s actions during that

 meeting provided circumstantial evidence that he was motivated to punish Stanley, consistent with

 the policy to “get” Stanley. Given the Department’s “paramilitary” structure, reasonable minds

 could conclude that Wickersham’s focus on Stanley trickled down throughout the Department and

 influenced the actions of his subordinates.

        The County does not engage with this analysis at all. Instead, it argues the jury’s finding

 of a policy here conflicts with Pembaur v. City of Cincinnati, 475 U.S. 469, 481–84 (1986),

 because Wickersham did not have “final authority” over whether Judge Femminineo dismissed

 Stanley’s criminal case about the Tindall incident. True, Wickersham could not direct Judge

 Femminineo’s actions in Stanley’s criminal case. But Stanley never argued that speaking to and


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 attempting to influence the judge presiding over the criminal case of a Department employee was

 the policy at issue. Rather, he asserted that the policy was a wide-ranging one to retaliate against

 him and pointed to Wickersham’s conversation with Judge Femminineo as evidence.                      As

 discussed, ample evidence established that Wickersham instituted the policy to punish Stanley.

 And that policy is attributable to the County because Wickersham can establish policies for which

 the County is liable. See Mich. Comp. Laws § 51.70 (“Each sheriff may appoint 1 or more deputy

 sheriffs at the sheriff’s pleasure, and may revoke those appointments at any time.”); Rushing v.

 Wayne Cnty., 462 N.W.2d 23, 29 (Mich. 1990) (“Additionally, we note that, as a matter of law,

 the policies of the sheriff and the jail administrator regarding the operation of the jail were

 attributable to the county.”); Marchese v. Lucas, 758 F.2d 181, 189 (6th Cir. 1985) (“We believe

 that the relationship between the County and the Sheriff’s Department is so close as to make the

 County liable for the Sheriff’s failure to train and discipline his officers and his ratification of the

 use of wanton brutality by members of his force . . . .”).

         For these reasons, we hold that Stanley presented sufficient evidence for reasonable minds

 to conclude that Wickersham instituted a county policy to retaliate against him.

                                                   IV.

         Thus, we affirm the district court’s judgment.




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                                 UNITED STATES COURT OF APPEALS
                                      FOR THE SIXTH CIRCUIT

                                               No. 23-1842


  JAMES STANLEY,
         Plaintiff - Appellee,                                                    FILED
                                                                                 Aug 19, 2024
         v.
                                                                         .(//</67(3+(16 Clerk
  MACOMB COUNTY, MICHIGAN,
         Defendant - Appellant.



               Before: GRIFFIN, NALBANDIAN, and BLOOMEKATZ, Circuit Judges.

                                           JUDGMENT
                             On Appeal from the United States District Court
                              for the Eastern District of Michigan at Detroit.

        THIS CAUSE was heard on the record from the district court and was argued by counsel.

       IN CONSIDERATION THEREOF, it is ORDERED that the judgment of the district court is
 AFFIRMED.


                                                 ENTERED BY ORDER OF THE COURT




                                                 Kelly L. Stephens, Clerk
